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                       BEFORE THE UNITED STATES
              JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE: FTX Cryptocurrency Exchange                               MDL Docket 3076
Collapse Litigation


                              SCHEDULE OF ACTIONS

       Case Captions                 Court         Civil Action No.           Judge

Plaintiff:                      United States       2:23-cv-01138     Judge Jennifer A. Dorsey
    • Edwin Garrison            District Court
    • Gregg Podalsky          District of Nevada
    • Skyler Lindeen
    • Alexander Chernyavsky
    • Sunil Kavuri
    • Gary Gallant
    • David Nicol

Defendant:
   • Graham Stephan
   • Andrei Jikh
   • Jeremy Lefebvre
